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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
 UNITED STATES OF AMERICA,                )    Case No. 20mj360 (HB)
                                          )
                          Plaintiff,      )
       v.                                 )    NOTICE OF APPEARANCE
                                          )
 BRANDEN MICHAEL WOLFE,                   )
                                          )
                        Defendant.



      Pursuant to the Court’s order appointing counsel, the undersigned attorney hereby

notifies the Court and counsel that Douglas Olson shall appear as appointed counsel of

record for the above named defendant in this case.



Dated: June 9, 2020                           s/ Douglas Olson
                                              DOUGLAS OLSON
                                              Attorney ID No. 169067
                                              Attorney for Defendant
                                              Office of the Federal Defender
                                              107 U.S. Courthouse
                                              300 South Fourth Street
                                              Minneapolis, MN 55415
